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                IN THE UNITED STATES DISTRICT COURT FOR
                    THE DISTRICT OF COLUMBIA

GRAPHIC ARTS INDUSTRY JOINT        )
PENSION TRUST, MARTY HALLBERG,     )
TRUSTEE, and DONALD J. TREIS,      )
TRUSTEE,                           )
                                   )
     25 Louisiana Avenue NW        )
     Washington, DC 20001          )
                                   )
                    Plaintiffs,    )
                                   )
v.                                 )         No. 1:13-CV-01887-RCL
                                   )
GRAPHIC EQUIPMENT & SUPPLY, INC., )
                                   )
     16200 Clinton Street          )
     Harvey, IL 60426              )
                                   )
UNION GRAPHICS, INC.,              )
                                   )
     1900 Lake Street              )
     Dyer, IN 46311                )
                                   )
DIGITAL GRAPHICS, INC.,            )
                                   )
     2044 164th Place              )
     Hammond, IN 46320             )
                                   )
THOMAS RUCINSKI, and               )
                                   )
     1436 Prestwick Drive          )
     Schererville, Indiana 46375   )
                                   )
TIMOTHY RUCINSKI,                  )
                                   )
     847 Killarney Drive           )
     Dyer, Indiana 46311           )
                                   )
                    Defendants.    )
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                    JOINT MOTION FOR DISMISSAL AND REQUEST
                    FOR THE COURT TO RETAIN JURISDICTION TO
                     ENFORCE CERTAIN TERMS OF SETTLEMENT



       Plaintiffs, the Graphic Arts Industry Joint Pension Trust (“Pension Trust”) and its

authorized Co-Chairman Trustees, Marty Hallberg (“Hallberg”) and Donald J. Treis (“Treis”),

and Defendants Timothy Rucinski, Graphic Equipment & Supply, Inc., Union Graphics, Inc. and

Digital Graphics, Inc. (collectively ‘the Parties”) jointly request the Court to dismiss this action

against Defendants Timothy Rucinski, Graphic Equipment & Supply, Inc., Union Graphics, Inc.

and Digital Graphics, Inc. with prejudice in accordance with Rule 41(a)(2) of the Federal Rules

of Civil Procedure on account of the parties having settled their dispute.

       Further, the Parties jointly request that the Court retain jurisdiction of this matter solely to

enforce those terms of the Settlement Agreement which require future compliance with certain

payment terms, and provide for the entry of a stipulated judgment in this matter in the event that

Timothy Rucinski defaults on a future payment, and fails to cure after notice required under the

Settlement Agreement.

       An Order for Dismissal and Request for the Court to Retain Jurisdiction to Enforce

Certain Terms of Settlement is attached for the Court’s consideration.
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Dated: November 16, 2015                                  Respectfully submitted,



/s/ Brian A. Sullivan                             /s/ Peter J. Leff
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Brian A. Sullivan (DE 2098)                       DC Bar No. 457476
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Graphic Equipment & Supply, Inc.,
Union Graphics, Inc. and Digital Graphics, Inc.
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                                   CERTIFICATE OF SERVICE


        I hereby certify that I served the following counsel and unrepresented Parties with a copy

of the foregoing Joint Motion for Dismissal and Request for the Court to Retain Jurisdiction to

Enforce Certain Terms of Settlement through the Court’s Electronic Case Filing system and by

Certified Mail – Return Receipt Requested:

                Thomas Rucinski
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                Schererville, Indiana 46375

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/s/ Peter J. Leff                             Dated: November 16, 2015
Peter J. Leff
